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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )
       vs.                                           )      CR. No. 05-1849 JH
                                                     )
DANA JARVIS, et al.                                  )
                                                     )
               Defendant.                            )

                            MOTION TO LIFT PROTECTIVE ORDER

       The United States moves to lift the protective order filed August 25, 2005, which

restrained Monroe Bank Account number 4269961, in the name of Player’s Pub, Inc., located in

Bloomington, Indiana.

       As grounds for this motion, Plaintiff states that this bank account is not named as subject

to forfeiture in the Superceding Indictment returned April 25, 2006.

       Therefore, the protective order is not longer necessary.

                                                     Respectfully Submitted,

                                                     DAVID C. IGLESIAS
                                                     United States Attorney

                                                     Electronically filed on May 24, 2006

                                                     STEPHEN R. KOTZ
                                                     Assistant U.S. Attorney
